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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                      Chapter 7
  In re:
                                                      Case No. 19-12153 (KBO)
  BAYOU STEEL BD HOLDINGS, LLC, et                    (Jointly Administered)
  al.,

                 Debtors,


  GEORGE L. MILLER, in his capacity as
  Chapter 7 Trustee for the jointly administered
  bankruptcy estates of Bayou Steel BD
  Holdings, LLC, et al.,
                                                       Adv. No. 21-51013 (KBO)
                 Plaintiff,

         v.

  BLACK DIAMOND CAPITAL
  MANAGEMENT, LLC; BDCM
  OPPORTUNITY FUND IV, L.P.; BLACK
  DIAMOND COMMERCIAL FINANCE,
  LLC; SAM FARAHNAK; PHIL
  RAYGORODETSKY; ROB
  ARCHAMBAULT; TERRY TAFT; and BOB
  UNFRIED,

                 Defendants.


                 NOTICE OF SUBPOENA TO PRODUCE DOCUMENTS
                 DIRECTED TO TRUIST FINANCIAL CORPORATION


         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 45, as made

applicable by Federal Rule of Bankruptcy 7030 and 9016, notice is hereby given that Defendants

Black Diamond Capital Management, LLC (“BDCM” or “Black Diamond”), BDCM Opportunity

Fund IV, LP (“Fund IV”), Black Diamond Commercial Finance, LLC (“BDCF”), Sam Farahnak,

and Phil Raygorodetsky, (collectively, the “Black Diamond Defendants”), request Truist Financial




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Corporation produce the documents described in Exhibit A of the Subpoena attached hereto on

November 3, 2023, at the location specified on the subpoena.



Date: October 3, 2023

/s/ Seth A. Niederman                               KRAMER LEVIN NAFTALIS & FRANKEL LLP
Seth A. Niederman (DE No. 4588)                     William J. Trunk (admitted pro hac vice)
FOX ROTHSCHILD LLP                                  Jack A. Herman (admitted pro hac vice)
919 N. Market Street, Suite 300                     Paul Brzyski (admitted pro hac vice)
Wilmington, DE 19801-3062                           2000 K Street NW, 4th Floor
Tel.: (302) 654-7444                                Washington, DC 20006
Fax: (302) 656-8920                                 Tel: (202) 775-4500
sniederman@foxrothschild.com                        Fax: (202) 775-4510
                                                    wtrunk@kramerlevin.com


FRIEDMAN KAPLAN SEILER                              ZAIGER LLC
ADELMAN & ROBBINS LLP                               Jeffrey H. Zaiger (admitted pro hac vice)
Lawrence S. Robbins (admitted pro hac vice)         Judd A. Linden (admitted pro hac vice)
7 Times Square                                      2187 Atlantic Street, 9th Floor
New York, NY 10036                                  Stamford, CT 06902
Tel: (212) 883-1118                                 Tel: (917) 572-7701
Fax: (212) 373-7918                                 jzaiger@zaigerllc.com
lrobbins@fklaw.com

Counsel for the Black Diamond Defendants




                                                2

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                          EXHIBIT A




ACTIVE 26530194v1 08/04/2014
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   B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                         UNITED STATES BANKRUPTCY COURT
                                                            Delaware
     _________________________________________ District of _________________________________________
         Bayou Steel BD Holdings, LLC, et al.
   In re __________________________________________
                                       Debtor
                                                                                        Case No. 19-12153 (KBO)
                                                                                                 _____________________
           (Complete if issued in an adversary proceeding)
George L. Miller, in his capacity as Chapter 7 Trustee for the jointly                           7
                                                                                        Chapter ___________
administered bankruptcy estates of Bayou Steel BD Holdings, LLC, et al.
  _________________________________________
                                   Plaintiff
                                          v.                                                                   21-51013 (KBO)
                                                                                        Adv. Proc. No. ________________
Black Diamond Capital Management, LLC, et al.
   __________________________________________
                                     Defendant

            SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
            INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

     To: Truist Financial Corporation, 214 North Tryon Street, Charlotte, NC 28202
         ________________________________________________________________________________________
                                            (Name of person to whom the subpoena is directed)

     x Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
     documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
     material:
                  See attached Schedule A

     PLACE      Fox Rothschild LLP, 101 N. Tryon Street, Suite 1300                                             DATE AND TIME
                                                                                                                   November 3, 2023
                Charlotte, NC 28246

         Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
     other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
     may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
     PLACE                                                                                                      DATE AND TIME




             The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
     attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
     subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
     doing so.
            October 3, 2023
     Date: _____________
                                       CLERK OF COURT

                                                                                       OR
                                       ________________________                                 /s/ Seth A. Niederman
                                                                                               ________________________
                                       Signature of Clerk or Deputy Clerk                              Attorney’s signature

     The name, address, email address, and telephone number of the attorney representing (name of party)
      Black Diamond Defendants
     ____________________________       , who issues or requests this subpoena, are:
      Seth A. Niederman, Esq., Fox Rothschild LLP, 919 N. Market Street, Suite 300, Wilmington, DE 19801 (302 654-7444)
                                      Notice to the person who issues or requests this subpoena
     If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
     inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
     the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                          SCHEDULE A
               DOCUMENTS TO BE PRODUCED PURSUANT TO
        SUBPOENA DUCES TECUM TO TRUIST FINANCIAL CORPORATION

                                          DEFINITIONS
       1.      Except as otherwise defined specifically herein, the definitions set forth in the

Federal Rules of Civil Procedure (the “Federal Rules”) and in the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rules”) (together, the “Rules”) are hereby incorporated by reference.

       2.      All words, terms, and phrases not specifically defined in these Requests are to be

given their normal and customary meaning in the context in which they are used herein.

       3.      “Bayou Holdings” shall mean Bayou Steel BD Holdings, LLC (f/k/a BD Long

Products, LLC) as well as its agents, attorneys, representatives, predecessors and successors in

interest, parents, subsidiaries, affiliates, divisions, area or regional offices, directors, officers,

employees, nominees to the board, or representatives of the foregoing, and/or all other Persons

acting or purporting to on behalf of any of those entities.

       4.      “Bayou Investment” shall mean BD Bayou Steel Investment, LLC as well as its

agents, attorneys, representatives, predecessors and successors in interest, parents, subsidiaries,

affiliates, divisions, area or regional offices, directors, officers, employees, nominees to the board,

or representatives of the foregoing, and/or all other Persons acting or purporting to on behalf of

any of those entities.

       5.      “BD LaPlace” shall mean BD LaPlace, LLC (f/k/a ArcelorMittal LaPlace, LLC) as

well as its agents, attorneys, representatives, predecessors and successors in interest, parents,

subsidiaries, affiliates, divisions, area or regional offices, directors, officers, employees, nominees

to the board, or representatives of the foregoing, and/or all other Persons acting or purporting to

on behalf of any of those entities.
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       6.       “BD Term Loan” shall mean the Subordinated Loan and Security Agreement dated

as of December 21, 2017 between Debtors, Black Diamond Commercial Finance, LLC, and

BDCM Opportunity Fund IV, LP, as well as all related documents, agreements, amendments,

draws, and disbursements.

       7.       “Communications” shall mean the transmittal of information (in the form of facts,

ideas, inquiries, or otherwise) and shall have the broadest meaning possible under the Rules and

shall include any transmittal and/or receipt of information, whether oral or written, and whether

by chance, prearranged, formal, or informal, and specifically includes, but is not limited to,

conversations in person, telephone conversations, electronic mail, instant messages, text messages,

voicemail, letters, memoranda, statements, media releases, magazine and newspaper articles, and

video and audio transmissions.

       8.       “Concerning” shall mean relating to, referring to, describing, evidencing, or

constituting.

       9.       “Debtors” shall mean Bayou Holdings, Bayou Investment, and BD LaPlace.

       10.      “Distribution” shall mean the $30 million distribution received by BDCM

Opportunity Fund IV, LP on March 17, 2017, in connection with the sales proceeds following the

Vinton Sale.

       11.      “Documents” shall have the broadest meaning possible under the Rules and shall

include any written, typed, printed, recorded material, or electronically stored information,

however produced or reproduced, of any type or description, regardless of origin or location,

including all correspondence, records, data compilations, tables, charts, analyses, graphs, schedules,

reports, memoranda, notes, lists, calendar and diary entries, letters (sent or received), electronic

mail, messages (including all reports of telephone conversations and conferences), instant




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messages, studies, books, periodicals, magazines, booklets, circulars, bulletins, instructions,

papers, files, minutes, other Communications (including all inter- and intra-office communications

and electronic mail communications), questionnaires, contracts, agreements, assignments, licenses,

ledgers, books of account, orders, invoices, statements, bills, checks, vouchers, notebooks, receipts,

acknowledgments, data processing cards, computer-generated matter, photographs, photographic

negatives, tape recordings, wire recordings, other mechanical recordings, transcripts or logs of any

such recordings, all other data compilations from which information can be obtained or translated

if necessary, and any other tangible thing of a similar nature.

       12.     “Person” or “Persons” shall have the broadest meaning possible under the Rules

and include any natural person or entity, present or former, including any business or governmental

entity, domestic or foreign, which for an entity includes its such entity’s subsidiaries, divisions,

predecessor and successor companies, affiliates, parents, any partnership, or joint venture to which

it may be a party, and each of its employees, agents, officers, directors, representatives, members,

consultants, accountants, attorneys, or anyone else acting on its behalf, including all individuals

currently acting in such capacity and those who have done so in the past.

       13.     “Revolving Loan” shall mean the Loan and Security Agreement, dated as of April

4, 2016, between BD Bayou Steel Investment, LLC, BD Long Products, LLC, ArcelorMittal

LaPlace, LLC, ArcelorMittal Vinton LLC, ArcelorMittal Metal Processing LLC, Bank of America,

N.A., and SunTrust Bank, as well as all related documents, agreements, amendments, draws, and

disbursements. For the avoidance of doubt, this definition includes the First Amendment to the

Loan and Security Agreement (dated March 16, 2017), the Second Amendment to the Loan and

Security Agreement (dated June 23, 2017), the Third Amendment to the Loan and Security

Agreement (dated May 15, 2019), and the letter dated December 16, 2016, subject line: “Consent




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to Sale of Membership Interests in BD VINTON LLC and BD METAL PROCESSING LLC.”

       14.     “Truist” shall mean Truist Financial Corporation, Truist Securities, Inc., SunTrust

Robinson Humphrey, Inc., SunTrust Bank, as well as their agents, attorneys, representatives,

predecessors and successors in interest, parents, subsidiaries, affiliates, divisions, area or regional

offices, directors, officers, employees, nominees to the board, or representatives of the foregoing,

and/or all other Persons acting or purporting to on behalf of any of those entities.

       15.     “Vinton Sale” shall mean the sale of BD Vinton LLC to Kyoei Steel America LLC

in December 2016.

       16.     “You” and “Your” shall mean Truist.

                                         INSTRUCTIONS

       1.      Each Request calls for You to produce all responsive Documents in Your

possession, custody, or control, or otherwise available to You through Your attorneys, accountants,

agents, employees, representatives, or any other Person directly or indirectly employed by or

connected with You or Your attorneys or anyone else subject to Your control.

       2.      For purposes of interpreting or construing the scope of these Requests, all terms

shall be given their most expansive and inclusive interpretation. This includes, without limitation,

construing:

       a.      “and” as well as “or” in the disjunctive or conjunctive, as necessary to make the

               Request more inclusive and bring within the scope of a Request any information

               that might otherwise be construed to be outside the scope of the Request;

       b.      the singular form of the word to include the plural, and the plural form to include

               the singular;




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        c.      the term “include” and “including” to mean “including but not limited to” or

                “including without limitation”;

        d.      the term “all” to mean “any and all,” and vice versa;

        e.      the term “each” to include “every,” and construing “every” to include “each”;

        f.      the term “between” to include “among” and vice versa;

        g.      the use of a verb in any tense as the use of the verb in all other tenses; and

        h.      and interpreting all spelling, syntax, grammar, abbreviations, idioms, and proper

                nouns to give proper meaning and consistency to their context.

        3.      The Requests are continuing in nature and require supplemental responses between

the time responses are served and the time of any trial, in accordance with Federal Rule Civil

Procedure 26(e). Any Document created, identified, or that comes into Your possession, custody,

or control after service of any response to these Requests that would have been produced in

response had the Document then existed, been identified, or been within Your possession, custody,

or control shall promptly be produced.

        4.      Documents must be produced in the order in which they are kept in the ordinary

course. All Documents that are physically attached to each other when located for production shall

be left so attached. Documents that are segregated or separated from other Documents, whether

by inclusion in binders, files, sub-files, or by use of dividers, tabs, clips, or any other method, shall

be left so segregated or separated.

        5.      If any copy of any Document, the production of which is requested, is not identical

to any other copy thereof, by reason of any alterations, marginal notes, comments, metadata,

omissions, or material contained therein or attached thereto, or otherwise, then all such non-

identical copies shall be produced separately. For the avoidance of doubt, a Document with




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handwritten, typewritten, or other types of notes or editing marks shall not be deemed to be

identical to one without such modifications.

        6.       Each Request shall be deemed to include a Request for all transmittal sheets, cover

letters, exhibits, enclosures, and attachments to a Document in addition to the Document itself,

without abbreviation or redaction.

        7.       All Documents that cannot be legibly copied must be produced in their original

form.

        8.       If any portion of any Document is responsive to any Request, then You must

produce the entire Document.

        9.       A Request for a Document shall be construed to include a request for all electronic

versions of such documents.

        10.      All Communications and Documents produced should conform to the following

requirements:

              a. Images: Hard-copy scanned documents (“Hard-copy”) and Electronically Stored

                 Information (“ESI”) shall be produced with images delivered as single-page 300-

                 dpi-resolution Group IV TIF format (“TIFF”). Each image should have a unique

                 file name and should be named with the beginning Bates number assigned to it.

                 Image file names should not contain spaces.

              b. Text: Text should be produced in the form of document-level .TXT files. Text from

                 Hard-copy documents should be obtained by utilizing optical character recognition

                 (“OCR”), and text from ESI should be produced as extracted full text. Text from

                 redacted pages may be obtained by utilizing OCR rather than produced as extracted

                 full text.




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c. Native Files: Spreadsheets (e.g., Excel), databases (e.g., Microsoft Access and

   Microsoft Project), presentations (e.g., Microsoft PowerPoint), audio/visual files,

   and any other file types that are not readily useful when imaged or printed, should

   be produced in native format with a cross-link .DAT file to a Bates- stamped

   placeholder sheet.

d. Parent-Child Relationships: Parent-child relationships (the association between an

   attachment and its parent record) should be preserved and produced.

e. Duplicates: When documents are produced for multiple custodians or from multiple

   sources, the production should be de-duplicated globally at the family level after

   populating a field to identify all custodians who had copies of the document

   including the copy produced. The production should contain one (1) copy of an

   email message or non-email document regardless of how many custodians had

   copies of it. The information to identify all custodians who had copies of the

   document including the copy produced will appear in a field named “Dupe

   Custodians” or similar.

f. Load Files: Database load files should consist of: (1) a comma-delimited values

   (“.DAT”) file containing the fields identified in the following paragraph; and (2) an

   Opticon (“.OPT”) file to facilitate the loading of TIFF images. All load files should

   be named to match the production volume name. Bates numbers and production

   volume names must not be duplicated and should run consecutively throughout the

   entirety of the production(s).

g. Load Files Format: The first line of the .DAT file should contain metadata field

   headers, and below the first line there should be only one line for each record. Each




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   subsequent line must contain the same number of fields as the field header line. The

   database structure should be maintained across the entire document production.

   Database load files should be produced in Concordance default format, which

   consists of the following characters:

       i. ASCII code 020 (“     ”) is used as a comma;

       ii. ASCII code 254 (“þ”) is used as a text qualifier (or “quote”); and

      iii. ASCII code 174 (“®”) denotes a new line.

h. Data Structure: Images should be provided within a root-level folder named

   “Images” containing reasonably structured subfolders (preferably not to exceed

   2,000 images per subfolder), text files should be provided in a single root-level

   folder named “Text,” native files should be provided in a single root- level folder

   named “Natives,” and load files should be provided in a root-level folder named

   “Data.”

i. Metadata: You shall provide the following metadata fields (where a listed field

   would contain more than one type of data, you must produce the data in separate

   fields):

       i. Beginning Bates Number;

       ii. Ending Bates Number;

      iii. Beginning Attachment Bates Number;

      iv. Ending Attachment Bates Number;

       v. Custodian Name;

      vi. Dupe Custodians

     vii. Confidentiality Designation (if any);




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     viii. To;

      ix. From

       x. Author;

      xi. CC;

     xii. BCC;

     xiii. EmailSubject

     xiv. Filename;

     xv. Filepath

     xvi. Created Date;

    xvii. Modified Date;

   xviii. Sent Date;

     xix. Sent Time;

     xx. Page Count;

     xxi. File Extension

    xxii. Message ID (Outlook email metadata)

   xxiii. Conversation Index (where email threading of produced documents is

          desired)

    xxiv. Nativelink (populated where applicable); and

    xxv. Text or Textpath.

j. Objective Coding Fields: For Hard-copy documents, the following Objective

   Coding Fields should be provided:

       i. Beginning Bates Number;

      ii. Ending Bates Number;




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                     iii. Beginning Attachment Bates Number;

                     iv. Ending Attachment Bates Number;

                      v. Confidentiality Designation (if any); and

                     vi. Source/Custodian/Location/Box/Folder.

         11.      If a claim of privilege is asserted in any objection to any document request or

portion thereof, and documents are withheld on the basis of that assertion of privilege, the objection

shall:

               a. the nature of the privilege being claimed and, if the privilege is being asserted in

                  connection with a claim or defense governed by state law, the state’s privilege rule

                  being invoked; and

               b. (i) the type of document; (ii) the general subject matter of the document; (iii) the

                  date of the document; and (iv) such other information as is sufficient to identify the

                  document for a subpoena duces tecum, including, where appropriate, the author of

                  the document, the addressee of the document, and, where not apparent, the

                  relationship of the author to the addressee, and the names of all entities that received

                  a copy of the document.

         12.      The time period for these Requests is July 1, 2015 to October 1, 2019.

                                  REQUESTS FOR PRODUCTION

         1.       Documents and Communications concerning the Revolving Loan.

         2.       Documents and Communications concerning the Distribution, including any

analyses, evaluations, and approvals of the Distribution or the First Amendment to the Revolving

Loan.

         3.       Documents and Communications concerning the BD Term Loan.



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        4.      Documents and Communications concerning the Vinton Sale, including its

negotiation, approval, and execution, as well as the use of sale proceeds.

        5.      Documents and Communications concerning appraisals of Debtors’ inventory. For

the avoidance of doubt, this Request includes analyses performed by Sector3 Appraisals, Inc.

        6.      Documents and Communications concerning Debtors’ solvency or capital

adequacy.

        7.      Documents and Communications concerning any reports, updates, or evaluations

provided to You from the Debtors.

        8.      Documents and Communications concerning or reflecting any analyses, evaluation,

or opinion as to the financial condition of Debtors.




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